UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MISSOURI

Springfield DIVISION

CIVIL COMPLAINT
David A. Stebbins
)
1407 N Spring Rd, APT #5 )
Harrison, AR 72601 )
Enter above the full name of Plaintiff or Plaintiffs in this action )
) .
vs. ) CASENO. IO 7 330S-CU-S_ _
Randal Richarson & Reliable Heat & Air, LLC +) CO)

)
584 Animal Safari Rd )
Branson, MO 65616 )
)
)

Enter above the full name of Defendant or Defendants in this action

lL Parties to this Civil Action

(In item A below, place your name in the first blank and place your present address in the seco 1d blank.
Do the same for additional plaintiffs, if any, on back side of this sheet.)

A. Name of Plaintiff David A. Stebbins
Address 1407 N Spring Rd,
APT #5
Harrison, AR 72601

(In item B below, place the full name of the defendant in the first blank, his official position in the second
adding word blank, and his place of employment in the third blank. Use item C for the names, positions,
and places of employment of any additional defendants.)

B. Defendant, Randal Richardson is emp oyed as
owner at Reliable Heat & Air, LLC
C. Additional Defendants Reliable Heat & Air, LLC

Il. Statement of Claim

(State here as briefly as possible the facts of your claim. Describe how each named defendant is involved.
Include the names of other persons involved, dates, and places. Do not give any legal argume: ts or cite

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any cases or statutes. If you intend to allege a number of related claims, number and set forth each claim
in a separate paragraph. [Use as much space as you need to state the facts. Attach extra sheets if
necessary.] Unrelated separate claims should be raised in separate civil actions.)

See enclosed page.

Ill. Relief

State briefly exactly what you want the Court to do for you.

Provide monetary in the form of damages for back pay, front pay,

emotional distress, and punitive damages.

Make no legal arguments. Cite no cases or statutes.

IV. Doyou claim the wrongs alleged in your complaint are continuing to occu - at the
present time?

Yes G No &

V. Do you claim actual or punitive monetary damages for the acts alleged in| ‘our
complaint?
YesK NoG

If you answered yes, state the amounts claimed and the reasons you claim you are
entitled to recover money damages
see enclosed page.

2 VI. Counsel
Do you have an attorney to represent you in this civil action?
YesG No x

A. Have you made any effort to contact a private attorney to determine if] e or she
would represent you in this civil action?

Yes NoG
B. If you answered yes, state the names and addresses of the attorneys cor tracted,
and give the results of those efforts.

see enclosed page.

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C. If you answered no, state your reasons why no such efforts have been n ade.

VII. Administrative Procedures

A. Have the claims which you make in this civil action been presented thr: ugh any
type of Administrative Procedure within any government agency?
Yes y¥ NoG
B. If you answered yes, state the date your claims were so presented, how ‘hey were

presented, and the result of that procedure.

I filled with the EEOC and received my Notice of Right to Sue
On June 30, 2010.

C. If you answered no, give the reasons, if any, why the claims made in th s action
have not been presented through Administrative Procedures.

Signed this 9 dayof__ July _, 20 10

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Signature of Plaintiff or Plaintiffs

VERIFICATION

State of

New” seme Sane”

County of

, being first duly sworn under oath, presents that | ¢ is the
plaintiff in this action; that he knows the contents of the complaint; and that the inforr :ation
contained therein is true to the best of his knowledge and belief.

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Signature of Plaintiff or Plaintiffs

All parties must verify

SUBSCRIBED AND SWORN TO before me this day of , 20

Notary Public

My Commission Expires

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